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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES -- GENERAL

Case No.     CV 20-7551-JFW(JCx)                                       Date: September 22, 2021

Title:       Dan Raines -v- Enrich Financial, Inc., et al.

PRESENT:
            HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

             Shannon Reilly                                  None Present
             Courtroom Deputy                                Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                   ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                None

PROCEEDINGS (IN CHAMBERS):               ORDER TO SHOW CAUSE RE: DEFENDANT ENRICH
                                         FINANCIAL, INC.

         Defendant Enrich Financial, Inc. (“Defendant”) is ordered to show cause in writing by
September 23, 2021 why Defendant should not be sanctioned in the amount of $1,500.00 or why
its Answer should not be stricken and default entered against Defendant for Defendant’s failure to
file all of the Pre-Trial documents required by the Court’s Scheduling and Case Management Order
filed on November 3, 2020, Dkt. No. 35. No oral argument on this matter will be heard unless
otherwise ordered by the Court. See Fed. R. Civ. P. 78; Local Rule 7-15. The Order to Show
Cause will stand submitted upon the filing of the response to the Order to Show Cause. Failure to
respond to the Order to Show Cause will result in the imposition of sanctions and/or default
entered against Defendant.




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